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         EXHIBIT A
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            CALCATERRA POLLACK LLP


                                              March 4, 2021


  By USPS Priority Mail
  Richard C. Allendorf, Esq.
  General Counsel and Secretary
  General Mills, Inc.
  Number One General Mills Boulevard
  Minneapolis, MN 55426

         Re:     Statutory Notice Under Pennsylvania Law to General Mills, Inc.

  Dear Mr. Allendorf:

          We represent Kathryn McCarthy, as well as a putative class of similarly situated purchasers
  in the United States and in Pennsylvania. Our client purchased during the applicable statute of
  limitations period Annie’s Macaroni & Cheese products containing cheese and/or cheese powder
  manufactured and sold by General Mills (“General Mills” or the “Company”) that contain
  dangerous and undisclosed levels of ortho-phthalates (the “Tainted Product”). Our client is a
  citizen of Pennsylvania and believes that the Company has engaged in, and is engaging in, inter
  alia, breaches of warranty, as well as unfair methods of competition and deceptive and misleading
  consumer practices, in connection with the marketing and sale of the Company’s Tainted Product,
  which she has purchased.

          Ms. McCarthy, individually and on behalf of a class of consumers who purchased
  Defendant’s Tainted Product in the United States and in Pennsylvania, believes that the fact that
  the Tainted Product contains dangerous and undisclosed levels of ortho-phthalates constituted a
  breach of warranty, including but not limited to breaches of express and implied warranties, from
  the Company to our client and other consumers. We believe that the Company, at all relevant
  times, had actual knowledge of the true quality and nature of the Tainted Product, which was not
  disclosed to Ms. McCarthy or similarly situated consumers. While notice may not necessarily be
  required in these circumstances, this letter nonetheless constitutes statutory notice pursuant to 13
  Pa. C.S. § 2607(c)(1) of the Company’s breaches of warranty. The Company breached its
  warranties with Ms. McCarthy and all others similarly situated by providing them with products
  that were not as the Company represented or warranted them to be.

          This letter is being served on behalf of Ms. McCarthy, as well as those similarly situated
  in the United States and Pennsylvania, pursuant to the warranty-related notice statute listed above,
  who hereby demand that the Company: (1) immediately engage in a corrective effort to remove
  the Tainted Product from the stream of commerce; (2) engage in a corrective advertising campaign
  concerning the Tainted Product; (3) cease and desist from the unlawful conduct described herein;


  1140 Avenue of the Americas             PO BOX 257                               TEL: 212.899.1760
  9th Floor                               NEW SUFFOLK NY 11956                     FAX: 332.206.2073
  New York, NY 10036-5803
                                                                      calcaterrapollack.com
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                                                     CALCATERRA POLLACK LLP


  Mr. Richard Allendorf
  March 4, 2021
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  and (4) reimburse our client and all other similarly situated consumers for their damages due to
  the Company’s breaches of warranty.

          Please be advised that we intend to pursue this matter as a class action and therefore expect
  that any consensual resolution of the issues raised herein must contemplate class-wide relief which
  approximates the full amount of actual, statutory and punitive damages available under applicable
  law. Please contact our offices if you wish to discuss this matter.

                                                Very truly yours,


                                                Janine L. Pollack



  cc:    Annie’s Homegrown (by U.S. Mail)
         Customer Relations Department
         1610 Fifth Street
         Berkeley, CA 94710
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                CALCATERRA POLLACK LLP


                                              March 10, 2021


  By USPS Priority Mail
  Richard C. Allendorf, Esq.
  General Counsel and Secretary
  General Mills, Inc.
  Number One General Mills Boulevard
  Minneapolis, MN 55426

         Re:     Statutory Notice Under New York Law to General Mills, Inc.

  Dear Mr. Allendorf:

          We represent Gabrielle Stuve, as well as a putative class of similarly situated purchasers in
  the United States and in New York. Our client purchased during the applicable statute of
  limitations period Annie’s Macaroni & Cheese products containing cheese and/or cheese powder
  manufactured and sold by General Mills (“General Mills” or the “Company”) that contain
  dangerous and undisclosed levels of ortho-phthalates (the “Tainted Product”). Our client is a
  citizen of New York and believes that the Company has engaged in, and is engaging in, inter alia,
  breaches of warranty, as well as unfair methods of competition and deceptive and misleading
  consumer practices, in connection with the marketing and sale of the Company’s Tainted Product,
  which she has purchased.

          Ms. Stuve, individually and on behalf of a class of consumers who purchased Defendant’s
  Tainted Product in the United States and in New York, believes that the fact that the Tainted
  Product contains dangerous and undisclosed levels of ortho-phthalates constituted a breach of
  warranty, including but not limited to breaches of express and implied warranties, from the
  Company to our client and other consumers. We believe that the Company, at all relevant times,
  had actual knowledge of the true quality and nature of the Tainted Product, which was not
  disclosed to Ms. Stuve or similarly situated consumers. While notice may not necessarily be
  required in these circumstances, this letter nonetheless constitutes statutory notice pursuant to New
  York Uniform Commercial Code § 2-607(3)(a) of the Company’s breaches of warranty. The
  Company breached its warranties with Ms. Stuve and all others similarly situated by providing
  them with products that were not as the Company represented or warranted them to be.

         This letter is being served on behalf of Ms. Stuve, as well as those similarly situated in the
  United States and New York, pursuant to the warranty-related notice statute listed above, who
  hereby demand that the Company: (1) immediately engage in a corrective effort to remove the
  Tainted Product from the stream of commerce; (2) engage in a corrective advertising campaign
  concerning the Tainted Product; (3) cease and desist from the unlawful conduct described herein;


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  Mr. Richard Allendorf
  March 10, 2021
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  and (4) reimburse our client and all other similarly situated consumers for their damages due to
  the Company’s breaches of warranty.

          Please be advised that we intend to pursue this matter as a class action and therefore expect
  that any consensual resolution of the issues raised herein must contemplate class-wide relief which
  approximates the full amount of actual, statutory and punitive damages available under applicable
  law. Please contact our offices if you wish to discuss this matter.

                                                Very truly yours,


                                                Janine L. Pollack



  cc:    Annie’s Homegrown (by U.S. Mail)
         Customer Relations Department
         1610 Fifth Street
         Berkeley, CA 94710
